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                                 123245



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


 In Re: COOK MEDICAL, INC., IVC FILTERS                Case No. 1:14-ml-2570-RLY-TAB
 MARKETING, SALES PRACTICES AND                        MDL No. 2570
 PRODUCTS LIABILITY LITIGATION



 This Document Relates to Plaintiff(s):

 Jamel Howard - 1:20-cv-6134-RLY-TAB
 Eugene Applegate - 1:20-cv-06144-RLY-TAB
 Jason Oliger - 1:20-cv-06296-RLY-TAB
 Sheryl Harrison - 1:21-cv-06312-RLY-TAB
 Patricia Perdue - 1:20-cv-06225-RLY-TAB



        ORDER PERMITTING WITHDRAWAL OF ATTORNEY APPEARANCE

        Plaintiffs’ Motion to Withdraw Attorney Appearance of Bradford J. Gilde (Dkt. 19817)

is GRANTED.

        IT IS THEREFORE ORDERED that Bradford J. Gilde is withdrawn as attorney of record

for Plaintiffs Jamel Howard, Eugene Applegate, Jason Oliger, Sheryl Harrison, and Patricia

Perdue effective immediately. Basil E. Adham and Johnson Law Group shall continue to serve as

counsel of record for Plaintiffs.

        Date: 9/2/2021
                                                _______________________________
                                                  Tim A. Baker
                                                  United States Magistrate Judge
                                                  Southern District of Indiana




Distribution to all registered counsel of record via ECF.
